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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA


 STATE OF LOUISIANA, et al.,

         Plaintiffs,

                 v.
                                                            Civil Action No. 22-cv-1213
 JOSEPH R. BIDEN, JR., in his official
 capacity as President of the United States of
 America, et al.,

         Defendants.


        MEMORDANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO
  STAY PRELIMINARY INJUNCTION PENDING APPEAL AND, ALTERNATIVELY,
                     FOR ADMINISTRATIVE STAY

       Defendants respectfully request that the Court stay its July 4 preliminary injunction

pending Defendant’s appeal of that order. See Notice of Appeal, Dkt. 296. The Government faces

irreparable harm with each day the injunction remains in effect, as the injunction’s broad scope

and ambiguous terms (including a lack of clarity with respect to what the injunction does not

prohibit) may be read to prevent the Government from engaging in a vast range of lawful and

responsible conduct—including speaking on matters of public concern and working with social

media companies on initiatives to prevent grave harm to the American people and our democratic

processes. These immediate and ongoing harms to the Government outweigh any risk of injury to

Plaintiffs if a stay is granted, and for the same reason, a stay is in the public interest. Moreover,

Defendants have shown a substantial case on the merits regarding Plaintiffs’ lack of Article III

standing and failure to present evidence substantiating their First Amendment claims. Accordingly,

this Court should exercise its discretion to temporarily stay the preliminary injunction during the

pendency of Defendants’ Fifth Circuit appeal.


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                                         BACKGROUND
       Plaintiffs filed this suit on May 5, 2022. Compl., Dkt. 1. Forty days later, they moved for

a preliminary injunction, Dkt. 11, and, shortly after that, for expedited discovery relating to the

motion for preliminary injunction, Dkt. 17. The Court granted the request for expedited discovery

and stayed briefing on the motion for preliminary injunction. Dtks. 19, 34. On May 22, 2023, after

the close of expedited discovery, the parties completed briefing on the preliminary-injunction

motion. The Court held a hearing on the preliminary injunction motion several days later. On July

4, 2023, more than one year after Plaintiffs moved for a preliminary injunction, the Court issued

an opinion and order granting the motion. Dkts. 293, 294. 1 On July 5, 2023, Defendants filed a

notice of appeal of the Court’s preliminary-injunction order. Dkt. 296.

                                           ARGUMENT
       In determining whether to grant a stay pending appeal, this Court considers “(1) whether

the stay applicant has made a strong showing that he is likely to succeed on the merits; (2) whether

the applicant will be irreparably injured absent a stay; (3) whether issuance of the stay will

substantially injure the other parties interested in the proceeding; and (4) where the public interest

lies.” Nken v. Holder, 556 U.S. 418, 426 (2009). In evaluating these factors, courts have refused

to apply them “in a rigid . . . [or] mechanical fashion.” United States v. Baylor Univ. Med. Ctr.,

711 F.2d 38, 39 (5th Cir.1983). A court that has ruled for one party on the merits is not required

to reverse that position in order to grant a stay to the opposing party. Instead, when “a serious legal

question is involved” and “the balance of the equities weighs heavily in favor of granting the stay,”

a party seeking a stay pending appeal “need only present a substantial case on the merits.” Arnold



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  The Court denied the motion as to certain Defendants not named in Plaintiffs’ request for relief
in the supplemental brief in support of the motion for preliminary injunction. Dkt. 294 at 6. In the
same opinion and order the Court denied Plaintiffs’ motion for class certification. Id. at 7.


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v. Garlock, Inc., 278 F.3d 426, 438-39 (5th Cir. 2001) (citation omitted). Additionally, stay

pending appeal is appropriate where an injunction “is not merely an erroneous adjudication of a

lawsuit between private litigants, but an improper intrusion by a federal court into the workings of

a coordinate branch of the Government.” INS v. Legalization Assistance Project, 510 U.S. 1301,

1305-06 (1993) (O’Connor, J., in chambers); see Heckler v. Lopez, 463 U.S. 1328, 1330 (1983)

(Rehnquist, J., in chambers); see also Adams v. Vance, 570 F.2d 950, 954 (D.C. Cir. 1978) (per

curiam). Here, each of the relevant factors weighs heavily in favor of a stay of the injunction

pending appellate review.

       To start, Defendants will suffer irreparable harm absent a stay of the preliminary injunction.

For the same reason, a stay is in the public interest. See Nken, 556 U.S. at 435 (when the

government is a party, its interests and the public interest “merge”). The Court’s July 4 preliminary

injunction is both sweeping in scope and vague in its terms. A preliminary injunction must

“describe in reasonable detail . . . the act or acts restrained or required,” Fed. R. Civ. Pr. 65(d),

meaning “that an ordinary person reading the court’s order should be able to ascertain from the

document itself exactly what conduct is proscribed,” Louisiana v. Biden, 45 F.4th 841, 846 (5th

Cir. 2022). The Court’s order does not satisfy this requirement. For example, its prohibition against

“taking any action such as urging, encouraging, pressuring, or inducing in any matter social-media

companies to” moderate “content protected by the Free Speech Clause of the First Amendment,”

Dkt. 294 at 5, does not clarify “exactly what conduct is proscribed,” Louisiana, 45 F.4th at 846.2

The Court’s list of carve-outs only injects further uncertainty. For instance, the Court’s purported




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  Indeed, the Court defines “protected free speech” with reference to the jurisprudence of every
federal court in the Nation. Dkt. 294 at 4 n.3. But how should an agency official, unsure of whether
the speech in question is constitutionally protected, comply with this injunction—by researching
the law of every federal court? What if the courts disagree?


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exemption to allow the Government to “exercis[e] permissible public government speech,” Dkt.

294 at 6, is at odds with the Court’s conclusion that public statements by the White House Press

Secretary and Surgeon General likely violate the First Amendment and is difficult to reconcile with

the injunction’s prohibition against “taking any action such as urging, encouraging, pressuring, or

inducing” social media companies to moderate content on their platforms. Dkt. 294 at 5.

       Nor is the injunction clear as to what entities and individuals are covered, as it names entire

agencies, such as the Department of Justice, which are composed of many sub-components whose

actions are not challenged by Plaintiffs in this case. By its terms, the injunction applies to all

“agents, officers, employees, [and] contractors” of the Department of Justice, id., thus potentially

sweeping in every employee of every sub-component of the Department. And although the Court

purports not to enjoin the Food and Drug Administration (FDA), Dkt. 294 at 6, it enjoins the

Department of Health and Human Services (HHS), id. at 1, of which FDA is a part, and all agents,

officers, employees, and contractors of HHS. The injunction also vaguely applies to “all acting in

concert” with “said named Defendants, their agents, officer, employees, and contractors.” Id. at 5.

These are only some of the substantial ambiguities in the Court’s preliminary injunction that cause

significant confusion as to who is covered and how to comply with the injunction’s terms.

       The potential breadth of the entities and employees covered by the injunction combined

with the injunction’s sweeping substantive scope will chill a wide range of lawful government

conduct relating to Defendants’ law enforcement responsibilities, obligations to protect the

national security, and prerogative to speak on matters of public concern. Accordingly, Defendants

are irreparably harmed as long as the injunction remains in effect.

       Additionally, a stay pending appeal would not “substantially injure” Plaintiffs. Nken, 556

U.S. at 426. The Court did not rule on Plaintiffs’ motion for preliminary injunction until more than




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one year after it was filed. Supra p.2. In their briefing on the preliminary injunction motion,

Plaintiffs failed to identify any irreparable harm occurring during the pendency of that motion; nor

have they identified any irreparable harm that is likely to occur absent a preliminary injunction.

See Defs.’ Opp. to PI Mot. 106-25, Dkt. 266. Instead, Plaintiffs’ assertions of harm center almost

entirely on conduct that is more than one year old. See id. (detailing the allegations of past content-

moderation episodes and past conduct of Defendants that are central to Plaintiffs’ assertions of

harm). Given Plaintiffs’ failure to show any evidence supporting any likelihood of ongoing or

imminent harm, as is required to show standing and to obtain preliminary injunctive relief, see

Winter v. Natural Res. Def. Council, 555 U.S. 7, 20 (2008), there is no reason to conclude that a

stay of the injunction pending appeal will cause any substantial injury to Plaintiffs.

       Moreover, Defendants’ appeal will raise several “serious legal question[s],” Arnold, 278

F.3d at 438-39, both as to Article III standing and as to the merits of Plaintiffs’ First Amendment

claims. This Court concluded that Plaintiff States have standing under a parens patriae theory

despite the Supreme Court’s clear statement that “[a] State does not have standing as parens patriae

to bring an action against the Federal Government.” Alfred L. Snapp & Son, Inc. v. Puerto Rico,

458 U.S. 592 (1982); Haaland v. Brackeen, 143 S. Ct. 1609, 1640 (2023). The Court also held that

all Plaintiffs have standing despite their failure to present any evidence of ongoing or imminent

harm. See Attala Cnty., Miss. Branch of NAACP v. Evans, 37 F.4th 1038, 1042 (5th Cir. 2022).

Additionally, the Court’s conclusion that Plaintiffs are likely to succeed on the merits of their First

Amendment claims fails to properly apply state-action doctrine and ignores the voluminous

evidence presented by Defendants that contradicts Plaintiffs’ conclusory allegations. Defendants

are thus likely to succeed on the merits of their appeal of the preliminary injunction, both on Article

III standing and as to Plaintiffs’ First Amendment claims. In any event, the legal questions




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implicated by the injunction are “serious” and this factor warrants a stay of the injunction pending

appeal.

          For all of these reasons, the Court should stay the preliminary injunction pending the Fifth

Circuit’s resolution of Defendants’ appeal.

          In the alternative, if the Court denies the instant motion, Defendants respectfully request

an administrative stay of the preliminary injunction for seven days to allow time for the Fifth

Circuit to consider an emergency motion to stay and request for administrative stay.

          Defendants respectfully request that the Court rule on this motion by 12 p.m. CT on

Monday, July 10, 2023 so that Defendants may promptly seek appellate relief, if necessary.

Dated: July 6, 2023                    Respectfully submitted,

                                       BRIAN M. BOYNTON
                                       Principal Deputy Assistant Attorney General

                                       JAMES J. GILLIGAN
                                       Special Litigation Counsel, Federal Programs Branch

                                       JOSHUA E. GARDNER (FL Bar No. 0302820)
                                       Special Counsel, Federal Programs Branch

                                       /s/ Kyla M. Snow
                                       KYLA M. SNOW (OH Bar No. 96662)
                                       INDRANEEL SUR (D.C. Bar No. 978017)
                                       KUNTAL CHOLERA (D.C. Bar No. 1031523)
                                       AMANDA K. CHUZI (D.C. Bar No. 1738545)
                                       Trial Attorneys
                                       U.S. Department of Justice
                                       Civil Division, Federal Programs Branch
                                       1100 L Street, NW
                                       Washington D.C. 20005
                                       Tel: (202) 514-3259
                                       kyla.snow@usdoj.gov

                                       Attorneys for Defendants




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